Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The DiNardo Law Firm, P.C.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  c/o 5933 Main Street
                                  Apartment 204
                                  Williamsville, NY 14221
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Erie                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




                      Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 1
                                       Description: Main Document , Page 1 of 17
Debtor    The DiNardo Law Firm, P.C.                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5411

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




                     Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                            page 2
                                      Description: Main Document , Page 2 of 17
Debtor    The DiNardo Law Firm, P.C.                                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                      Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                     page 3
                                       Description: Main Document , Page 3 of 17
Debtor   The DiNardo Law Firm, P.C.                                   Case number (if known)
         Name

                              $50,001 - $100,000          $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000         $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million       $100,000,001 - $500 million          More than $50 billion




                    Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                           page 4
                                     Description: Main Document , Page 4 of 17
Debtor    The DiNardo Law Firm, P.C.                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 7, 2023
                                                  MM / DD / YYYY


                             X /s/ Joseph DiNardo                                                         Joseph DiNardo
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Sole Shareholder




18. Signature of attorney    X /s/ Daniel F. Brown                                                         Date September 7, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Daniel F. Brown
                                 Printed name

                                 Lippes Mathias LLP
                                 Firm name

                                 9145 Main Street
                                 Clarence, NY 14031
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (716) 235-5030                Email address



                                 Bar number and State




                    Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                              page 5
                                     Description: Main Document , Page 5 of 17
Debtor     The DiNardo Law Firm, P.C.                                                  Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NEW YORK

Case number (if known)                                              Chapter     11
                                                                                                                    Check if this an
                                                                                                                    amended filing




                                                    FORM 201. VOLUNTARY PETITION

                                                  Pending Bankruptcy Cases Attachment



Debtor     Blue Ocean Partners LLC                                            Relationship to you               Affiliate
District   Western District of New York            When   3/23/23             Case number, if known             23-10245-CLB
Debtor     Joseph DiNardo                                                     Relationship to you               Affiliate
District   Western District of New York            When   4/10/23             Case number, if known             23-10316-CLB




                     Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 6
                                      Description: Main Document , Page 6 of 17
Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
                Description: Main Document , Page 7 of 17
Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
                Description: Main Document , Page 8 of 17
Fill in this information to identify the case:

Debtor name         The DiNardo Law Firm, P.C.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 7, 2023               X /s/ Joseph DiNardo
                                                           Signature of individual signing on behalf of debtor

                                                            Joseph DiNardo
                                                            Printed name

                                                            Sole Shareholder
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




                Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
                                Description: Main Document , Page 9 of 17
Fill in this information to identify the case:
Debtor name The DiNardo Law Firm, P.C.
United States Bankruptcy Court for the: WESTERN DISTRICT OF NEW                                                                             Check if this is an
                                               YORK
Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Blue Ocean Partners                                 Notice Only               Contingent                                                                                $1.00
LLC                                                                           Unliquidated
c/o Regina A.                                                                 Disputed
Walker, Chapter 7
Trustee
Law Office of
Regina Walker
300 International
Drive, Suite 100
Williamsville, NY
14221
Internal Revenue                                    Notice Only               Contingent                                                                                $1.00
Service                                                                       Unliquidated
Centralized                                                                   Disputed
Insolvency
Operations
Post Office Box
7346
Philadelphia, PA
19101-7346
NYS Department of                                   Penalty                                                                                                       $1,023.16
Labor
Attn: Insolvency
Unit
Harriman State
Office Campus
Building 12, Room
256
Albany, NY 12240
NYS Department of                                   Notice Only               Contingent                                                                                $1.00
Taxation & Finance                                                            Unliquidated
Bankruptcy Unit                                                               Disputed
Post Office Box
5300
Albany, NY 12205




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                    Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
                                   Description: Main Document , Page 10 of 17
Debtor     The DiNardo Law Firm, P.C.                                                               Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
NYS Unemployment                                    Unemployment              Unliquidated                                                                          $226.80
Insurance                                           Insurance
Post Office Box
15012
Albany, NY
12212-5012
NYS Workers'                                        Workers'                  Unliquidated                                                                      $18,500.00
Compensation                                        Compensation              Disputed
Board
328 State Street
Schenectady, NY
12305
NYS Workers'                                        Workers'                  Disputed                                                                            $3,519.17
Compensation                                        Compensation
Board                                               Penalty
Bureau of
Compliance
Post Office Box
5200
Binghamton, NY
13092
The Hartford                                        Insurance                                                                                                       $170.00
Financial Services
Group
690 Asylum Avenue
Hartford, CT 06155




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                    Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
                                   Description: Main Document , Page 11 of 17
                                                      United States Bankruptcy Court
                                                            Western District of New York
 In re    The DiNardo Law Firm, P.C.                                                                              Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Joseph DiNardo                                              Sole                  N/A                                        100%
5933 Main Street                                            Shareholder
Apartment 204
Williamsville, NY 14221


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Sole Shareholder of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date September 7, 2023                                                   Signature /s/ Joseph DiNardo
                                                                                        Joseph DiNardo

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders



                Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
                               Description: Main Document , Page 12 of 17
                                          United States Bankruptcy Court
                                               Western District of New York
 In re   The DiNardo Law Firm, P.C.                                                    Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for The DiNardo Law Firm, P.C. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 7, 2023                                /s/ Daniel F. Brown
Date                                             Daniel F. Brown
                                                 Signature of Attorney or Litigant
                                                 Counsel for The DiNardo Law Firm, P.C.
                                                 Lippes Mathias LLP
                                                 9145 Main Street
                                                 Clarence, NY 14031
                                                 (716) 235-5030 Fax:(716) 633-0301




             Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
                            Description: Main Document , Page 13 of 17
                                               United States Bankruptcy Court
                                                    Western District of New York
 In re   The DiNardo Law Firm, P.C.                                                              Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Sole Shareholder of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:     September 7, 2023                              /s/ Joseph DiNardo
                                                         Joseph DiNardo/Sole Shareholder
                                                         Signer/Title




               Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
                              Description: Main Document , Page 14 of 17
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                     Actuarial Consulting Services, Inc.
                     Attn: Mark E. Brand, Esq.
                     30 Bryant Woods North
                     Amherst, NY 14228-3601


                     Ardec Capital Solutions LLC
                     155 Mineola Boulevard
                     Mineola, NY 11501


                     Blue Ocean Partners LLC
                     c/o Regina A. Walker, Chapter 7 Trustee
                     Law Office of Regina Walker
                     300 International Drive, Suite 100
                     Williamsville, NY 14221


                     Brennan & Clark
                     Attn: Michael Black
                     721 East Madison Street
                     Suite 200
                     Villa Park, IL 60181


                     Corporation Service Company
                     Post Office Box 2576
                     Springfield, IL 62708


                     Counsel Financial Services, LLC
                     500 Pearl Street, Suite 820
                     Buffalo, NY 14202


                     Dansa D'Arata & Soucia CPAs LLP
                     500 Pearl Street, Suite 810
                     Buffalo, NY 14202


                     DiNardo Law Firm Profit Sharing Plan
                     c/o 5933 Main Street
                     Apartment 204
                     Williamsville, NY 14221


                     Elissa D. Miller, Esq.
                     Chapter 7 Trustee of Girardi Keese
                     Greenspoon Marder LLP
                     1875 Century Park East, Suite 1900
                     Los Angeles, CA 90067




    Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
                   Description: Main Document , Page 15 of 17
                 Equal Access Justice Fund LP
                 105 S. Narcissus Avenue
                 Suite 800
                 West Palm Beach, FL 33401


                 FLP Law Group, LLP
                 Attn: Alan W. Forsley, Esq.
                 1875 Century Park East, Suite 2230
                 Los Angeles, CA 90067


                 Gleichenhaus, Marchese & Weishaar, P.C.
                 Attn: Scott J. Bogucki, Esq.
                 930 Convention Tower
                 43 Court Street
                 Buffalo, NY 14202


                 Internal Revenue Service
                 Centralized Insolvency Operations
                 Post Office Box 7346
                 Philadelphia, PA 19101-7346


                 Jamie Ruigomez
                 c/o Hoover & Durland LLP
                 Attn: Timothy W. Hoover, Esq.
                 561 Franklin Street
                 Buffalo, NY 14202


                 Jenkins Mulligan & Gabriel LLP
                 Attn: Larry W. Gabriel, Esq.
                 585 Lorna Lane
                 Los Angeles, CA 90049


                 Joseph DiNardo
                 5933 Main Street
                 Apartment 204
                 Williamsville, NY 14221


                 Joseph Ruigomez
                 c/o Hoover & Durland LLP
                 Attn: Timothy W. Hoover, Esq.
                 561 Franklin Street
                 Buffalo, NY 14202




Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
               Description: Main Document , Page 16 of 17
                 Kathleen Ruigomez
                 c/o Hoover & Durland LLP
                 Attn: Timothy W. Hoover, Esq.
                 561 Franklin Street
                 Buffalo, NY 14202


                 Keating Muething & Klekamp PLLC
                 Attn: Jason V. Stitt, Esq.
                 One East Fourth Street, Suite 1400
                 Cincinnati, OH 45202


                 NYS Department of Labor
                 Attn: Insolvency Unit
                 Harriman State Office Campus
                 Building 12, Room 256
                 Albany, NY 12240


                 NYS Department of Taxation & Finance
                 Bankruptcy Unit
                 Post Office Box 5300
                 Albany, NY 12205


                 NYS Unemployment Insurance
                 Post Office Box 15012
                 Albany, NY 12212-5012


                 NYS Workers' Compensation Board
                 328 State Street
                 Schenectady, NY 12305


                 NYS Workers' Compensation Board
                 Bureau of Compliance
                 Post Office Box 5200
                 Binghamton, NY 13092


                 The Hartford Financial Services Group
                 690 Asylum Avenue
                 Hartford, CT 06155


                 Woods Oviatt Gilman LLP
                 Attn: William F. Savino, Esq.
                 1900 Main Place Tower
                 350 Main Street
                 Buffalo, NY 14202




Case 1-23-10865-CLB, Doc 1, Filed 09/08/23, Entered 09/08/23 17:10:04,
               Description: Main Document , Page 17 of 17
